                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
v.                                           )     No.:    3:13-CR-45-TAV-CCS-5
                                             )
CRYSTAL GAIL BARNES,                         )
                                             )
              Defendant.                     )


                      MEMORANDUM OPINION AND ORDER

        This criminal case is before the Court on the defendant’s motion for reduction of

term of supervised release [Doc. 1603]. The government responded in opposition to the

motion [Doc. 1624].

        The defendant was convicted of conspiring to manufacture at least 50 grams of

methamphetamine, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(A) [Doc.

1270]. The Court sentenced the defendant to 216 months’ imprisonment followed by 10

years of supervised release [Id.]. In June 2016, this Court reduced defendant’s sentence

to 58 months’ imprisonment, as permitted by 18 U.S.C. § 3582(c) and Guidelines

Amendment 782 [Doc. 1573].

        The defendant now asserts that a shorter term of supervised release would “better

fit [her] new sentence” [Doc. 1603]. The defendant, however, has not identified any

statutory authority for the relief requested. To the extent the defendant seeks relief

pursuant to § 3582(c), U.S.S.G. § 1B1.10(a)(1) provides that § 3582(c) only authorizes a

reduction in a term of imprisonment, not in a subsequent term of supervised release. To



     Case 3:13-cr-00045-TAV-DCP      Document 1631        Filed 12/06/16   Page 1 of 2
                                     PageID #: 6789
the extent the defendant seeks relief under 18 U.S.C. § 3583(e)(1), which authorizes this

Court to reduce or terminate supervised release under certain conditions, the defendant

has not satisfied the prerequisite conditions for a modification of her term of supervised

release.

       Accordingly, because the defendant has not identified any statutory authority for

the relief requested, her motion [Doc. 1603] is DENIED.

       ENTER:


                                  s/ Thomas A. Varlan
                                  CHIEF UNITED STATES DISTRICT JUDGE




                                            2


   Case 3:13-cr-00045-TAV-DCP       Document 1631        Filed 12/06/16   Page 2 of 2
                                    PageID #: 6790
